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                                                                        Apr i l           ,> 3,       1992

         ORANDUM FOR DR.                           Mm pagy

         M:           Jonathan Wiener
                      Policy Counsel

                      R                        of           Cost          Estimat#8                    of        Limiting                 Greenhouse        Gas


                      zou          requested a                           Su-rary and                    m.1 .w- oe

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    onn of.         Us GDp from b                                   ino Lorecasted GDP                                  cy 2000
                                                                                                                       in   to                      -1-0.6
                   hows highor c                                  TS,  around   -91                                      ,
e Limated              by         the e                                                                                                          Cost      are
     dDÁ 1 LZàtion is Mintained                                                                                                                  gI-OWth   dS
2             °r cæ uv mso.                                 c     ue c                                       °                              ²°. and o+
reauction ee10. ma 1eve1n ny  °                                                                                             h              such as a 201
  st or cm in 2020.     c                                                                                    °                             c 523uto 2.0-
     ute næs, c.,en wahout me                                                                     t               u                               °° °"

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     est unable                   a-,.ugt:cns                                                    d                          ,        hut are based on


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               T    h n roc                                                                           (Where           re           040      n     CO.




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                             91Ve    sore       comparative perspective                                      to    the       estimated
                   stabil1Zin9            US         CO2      enissions                 by            1990    levels              by          2000
       1r q        tron 0        1-2,09. Of GDP foregone by 2000,                                            depending on the


       o           Today the US spends about 2% of GDP on all environmental
                   protection, which is projected to rise to 3% by 2000.
                    hr' Clear. Air Act Amend;rents of 1990 are expected to cost
                   arounci $20 billion per year, or I'.4i of GDP.

       o            Nordhaus est taaten the benefits to the US of preventino
                    an       assumed        3        degree           C     rise        in        global           nurface                mean
                    temperature at around 0.26% of GDP through 2050 (not
                    account inq for lcw-probabilIty, hiqh-impact discontinuous
                    damd4°3          Ire" cl1rste change).

       O            Stabli1zing    global     forests    (preventing    further
                    derorestation) would achieve as much or more reduction in
                    globot CO2 er-¿Ssions au stabil izing DECD emissions of CO2
                    at 1990 levels by 2000, but at loss than 1/10 the global
                    co t, and with additional side benet its in blodiversit '
                    connervat ion .




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       o .     Aaen·1a  . . l                   t not en1.
               .c overall cf                    *5 of the c;ran Air                      A        t     n     other                       1 ·-




              n in baseline (na pollCY aC                                 1 HJ     forecar.ts of c, p
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                                  3
emissions might impose,




                                      P00000132333
                                                    nRRESPOUDENCE TRACKING




         n-           OFCD ,1nd_FMF m0.del._romparisons

CO2    CDIGSlons                      fro     th                            osal          for a "target"              is to hold
2000, "stabilizing" th                               bnergy sector to 1990 levels in the year
level permanently arte                              2000              ons to no more than that


esttrater-                        t                                                                                   for    their
through             unt tor             act i n
erinnions at 1990 levels by                                      DOC


                                                        DP Loss if World Foss:] Fuel coa
          --                                  L    .ssion;. are.fícJd to 199u leveln__ptter 2000

                                                     24!$                   2020                  po n            ,
5 t a1) 1 1     7 e   ('( )
              - -             .   emi . ,lons       by       CVer y'   country                    99        1s        by    000:

         Manne-Richels
             US                                      0.6                   . 1, o                 2 1
                      Other            OECD          o.4               .               ...                       2-4

                      China                          1 6                                       -              1, 6
                      World                          1 1                                      4-0             5.2
                                                                            2.2               2.8             3.5
         Edmonds-Reilly

                      Other            OFCD          o       3                  ,
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                        hina



         CFFFN           i01c )
                                                    O. I                   o   3             0     4
                      othor OLcn                    o.7

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         fil l'arch 1      Ch t                                                                           ." Wtricted
         revised per lac                                                                                or "Other ÃEcos
         World estimates read fra



           The models show that stabili
unifor:n actions by overy countr                                                                                 IS Vid
of GDP in 2000, rising to 0.4-2.1                                                   o o                    en 0-1-0.6%




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                                                                                                                       »
            Tht· Stanford Energy Modeling Fcrun (FMF 1902) performed
·2 Sintlar model comparison with B models (Including the three shown                                               R
above: and found that ntabill/inq US emiculons at 1990 levels after
    00 would impose a cost of 0.S-1.5% of GDP in 2020. This range is
  omewhat higher than the range of C.1-1.0% in the OECD model
   onparison.    EMF also found that achiev1ng a 201 reduction from
 990 levels by 2010 would cost 1.0-2.5% of GDP in 2020.                                                 [EMF 12,
 Executive Sunmary" draft                            2/12/9?,         p.    ii   &   Exhibit    1.)


          In each rodel conpartuan, the medcls are standardized to
          on:ron  annurptions  about  basellne   econonic  growth
population growth, and fuel price prolections.        In the EM.
co-par1non exercine, technology assumptions were also standardized.
In the OECD carparlson, the differences in costs across rodels
 31hl y            rei le(-t   d1[ ference

                      b·1rml ine          em;sq1ons growth assumed ( In bl11 inn tonn                          a
                      carbon):                    n.3.ellne worldwtde CO/ ertssion.·




                               CPLEN           S.Dl5      10.f        la 99H
           o           AEEI:     ;1 ;*r year in Ednand-----Heilly and GREl                             0.51 Fr

           o           ava i l ab i l a t y of "backstop" lower-emitting or non-emitting
                       techno1 og l es .



               ·       Ö±H     les    ust_02       DRI   rr.o'jol,



                       (1)     ITI-McGraw._..HLil             (Jan.        1942)     examined    the   coLL   of
 F             171ng OL( !) e'r 1ssgen,- n!                 CO2 at     198H      leye].
 redu          r·7 Them         or    below the          1988        level by 2010 and 201            below the
     988   2cvel        by      0    U.       :t   laund:


                                          c_e/               010             po2n
           US                             0.3               3,5
           Europe                         o- /              2.0              2 9

           Aust ; a 1 1 a
           Al1 OFCD                       o

            ource: DF1, "F'enno:nic E!rectn 01 Usinq Carbon TaxeG to Rod
           -anon D2°×1de Erinstons in Ma jor OEcD countt les" (Jan. .190




                                                                                                                   P00000132335
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                  (2) The US C_ongressional Budget Office (CBol     (August
              tudied the impact on the US economy of unilaterally Irposing
       0 per ton of carbon tax on fossil fuels, phaned in fron $10
       on of carbon in 1991 and rising to $100 per ton b 2000. cBo
  d three rodein *
                          O asness this tax: the DRI model, the Jorgenson
       . odel,     and the PCAEO nadel from DOF.  Annuming that only the
       posed this tax,                 CBo found:


                      AP-19J&99A¶LJ1y_ Vear                       % change in 2000 CO2 emissions
                             1221        N          2999          level comparedxin 1988                     eyga
DRI                            2          2          2                     - 6
DGEM
PCAEO
                                                                                     + 5
        Source: CBO, "Carbon Charges as a Response to Global Warming:
        the Effects of Taxing Fossil Fuels" (Aug. 1990), Tables 3. 5
        and 6.  Missing data not reported by CBO.


          1he variety of emissions resultn reflects differences in
the  adeln.  The fx:FM ¿v t gonerdl-equil ibriurr mode! In which new
  chnolo920s are erployed as soon as they become ec
 onpatitive: It abstracts from tr<tnsition tires and costs and i-
 herefore better suited to long-run equ111brium analysis than to
predicting re-tl changen in emissions and G?fP over tire    CBO a
noted that imposing the tax suddenly, instead of phasinq it in ov
ten years, could raise the cost to 5% of GNp.


                      r.g   the       pqran.j'--Ho:11y model              to     !    523k
                                                                                         out      to   the
       ..,.                        unJ1 teral $100 tax would impone a
                           ovet .   of oNP helow forecast baseline greath
                           he unilateral US tax would kee     Us
 ro      ng    only    s1 ghtly above 198B levels through   oso
reduce the            thereafter,            roughly approxí:nating "stabil tzat
the Eamonds-Reilly nodel                     run.    (Jd.,         rig.    /.)




Famond--Po lly 9Culel rup ( .1                                                                         in    the
emiss;cnu trr.act would di f fe                      gn                   ).         Hut    CUn    found     the

  Old 1       emlSGiQr                       ( dn
cor.centrationt- b               oni                                y a doub               nq of global co
                                         3     years.         A   multilatrra               $100 t

more),        anj delay     10    b     ng a                  c
                                                     .st apply nq the                          x acro-s a1[




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                o t                      equiring the same emissions target to
vary accordinq to t                                        5 ° 442¹³³¹°°"
                                                                       level to
trading would o rer                    nal cm t of control. Al lowing emissions
                              m       ar flexibility.)



     B-.      Etteet on_          d crissLons of action t:y_oECD_a_Lone.

reduce glob   CO2 eml             ion-           b C     only stabilization policy would
2050-  (OECD  "Cost.-                                   nly 11% from baseline growth by
31scussion," Bestricto                            .                lonn: Main Issues for
to the f indinq by the CEA            042·                          Par-       I   .)   This Is similar
"tssions of                                                    n
                                                90 that stabillrinq OECD
 n25 by about In                              e 91nM1 CO2 emissions in
                             n eragency Task Fo      or
.er- Cl trate Change       A Prel
Table III.     .)                            1    inary Amsæn


projected           lon                                             arithmotic           chanqes   tron
r:etwren rP71ons tht! Wou d                       ract    from world trade                Interaction
such as UFCD.    In particular     FC
could reduco 103'11 fuel consu--pt       In
 ower the world price of to             uel                           o       countrien and thus
consurption elsewhere.    ao     e                                                        nemased
with the Edmondu-Reilly                                                   Pter 10) reports a run
aLout /n1 of the init i 1                                                      15 etteet orr
oECD.   Over the longer                                                     achieved within the
:niensive goodn could    hift                                             prNuction of rarbon-
FMF reports that this c      -*c   o  d                                    countrie- .    stanford
 Tact on qloba: em:ssionn "drop ort                                                          I the
.Hurrary," draf t 2 1                                                                  12, "Exec,
 tat·211zat   on would redt       e      ob            om rs       nn L
an an upper bound.                                                                      must be taken




           Few of the economi.c models
actual costs that would be tell in th                                 a 90cd plcture of the
(1990) noted that if a $100              e                         transition period.     Cso
phased In over ten yearn, the 1-2 GN co                            d amedt,-itely instead or
findin9 1©· Supported Ly the Wk at                                   could rise to 5t.  This
lorum (FMF 199 ) , which ímn't thì                                                         n9
tho saae cuculative emissionn out o                                             o ld achieve
century as a 201 reduction frorr 1990 .n                                         of the n   t
at a JU-401 cost naving                                                   ovols by 2010, but
2/12/9', p.            put another                       th                      ry" drait
control policy,     the higher th                         .        ooner or the dooper the
Iknearly with the depth or             onnot or           tho co           .        r se moro   than      p
                                                                                       n part   this




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ref lects modet
 echnoloqten ov r   n   ons about the availability of non-carbon
   carbon tax decline      t ey   core more available, the cost of
5:qnificantly reduce it               a co   rol pollcy can thus
 missions.                 O t   ven for nir11ar effects on not

          CBO                         (lemo)
phased-in tax                         on diff           r       r                                                     10.%1              Irpact of the
    ound
      large sales                                                                           ries,       us ng the DGEM mode'.   It
        30%   and   20                                                                                      atural gas production
transportar lon: crint Ing                                                                               npect vely);  chericals7
rachinery.                                                                                                  rubber          6       plastics                 and


    aboW)           to     ro         ct r              onu                 the DRI nodel and scenario (See 1(C)
     ok Industry-by-:ndustry effecto                                                            nt    impacts within the US.                                     He
     5 reglonally accordin to                                                       )                   Edx and allocated Job
e ch rellon.   He fouM t 060                                                                 hare of that industry's oM In
 ost  in pA   gY,   LA, TX, CA                                                                        cts by number of Jobs
Færcenta9© of ;ob-- lost In yy                                                              AL
at, MT, and No,                                                                                        , TX, OK, NM. KS, UT,




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     t          y va                                                                                            ket                 These            ant ra-
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            --               .     4._cost.... O! control th_Inugh                     e                -i lss ions t rad I nq
                       UniforE           limitati
country nust      meet th                             in which every
"ntabt ll2at lon 01 natior
marginal cost of 1                  nS"), are inefficient because the
cost ent lutes abov     s umed    hons varies acroGS countries.   The
countrien.     Yet the                           n Ical action by al I
were sign1! Icant: In          n of   arginal costs acros   countries
cowts varied over a fa tor o          fr m the
avolder               (China)                                                                                           s onn
                                         o   the    highP5t-cost                   rmiss onS                avolder    (CECD-


countries     t   p ed the costs of a uniform policy in which all
efficient policy in wh ch t e mos r d      ime degree with a more
the marginal cost of abatement is I c ons are obtained where
mechanism could be de 1                ovest-   Such an efficient
countries (rather than     e   by applying the same tax to all
different countries), or by llowing trade     em si ns 1 wu t

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   tvalent and would inpose a total econonic cost of only dbout $10
                   2010.  Ser Richard A. Bradley, Edward C. Watts
nited Stater                3 Set Greenhouse Gas Eq1cjlir2nn_2r1 the
            ..   2ne 2T: Eneray Responses at 8.10-8.12     (L5 Dept
    nergy, o   e of E.nvironmental Analycin, Sept. 1991).      Hence
ven When constralned to act only within the energy sector
roadening from CO2 to all GHGs reduces cor.ts by about 7¼.

     Thln comparison must be taken an 111ust rative, since it relles
an GWp .actors for the CHGs baned on the 1990 IPCC Report        and
includes low-cout CFC reductionns at their full direct GWP        he
ca¬parison would alco ditter      in diiterent countries.




                                                             D5LlLGLSdi9hAQ

          Broadening beyond the energy sector to a full net GHG
emissions approach, including tree planting and agricultural
efforts, can reduce costs further.

            Continuinq the above analysi..;, DOE few wt g.,.
  hr Gnv La× and in addit inn allowing d refund for refor©5tallon
.act ivities that sequester CO2 would lower the totdl cost of
reducing US emissions by 20% fro:n 1990 levels by 2010 to about $6-
la billion in 2010 -- over 901 less than the CO2-only, ener    -on1
Policy.  Bradley et al·  DOE at H l'    A
                                     -    qain, these fiquren should
Le t ken only to ;1:Ustrate the 11ke y WW of
-hey depend in part upon the IPr.r's 1990 cwp                f 1%           h1
belnq recalculated.

          An inr,tructive 111untration of the cost advantaqes of a
corprehenolve approach is provided for India by the World Bin);
 Warid Devolupment GPport, forthcoming    99i  a
about 60% of the US CHG emissionS portflollo is in c0                     emi    o
 or India r,ok is in Cil4 onissions. The World Bank
that in India the marginal cost of cultír    CH
 Itan ÍS lbt -nal'llna I COsl of rilt(          4 eminston   is h gher
that Tr.dian cH4 eminLions can onl'' be       1"lons, o    the theory
                                       r cut by rentr;eling r
dalry   farminq.   The   bank   flod
errlst-lons by ?ùt and nrparately cut CH4 e         lunar            t
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htqher than if Ind  had     he flex           ty to I lmil       t
inrQugh } Ln ledSL-cost     -lX o[
approach .                                                           omprehenr, ive




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                                                      " CoRRESPONDENCE TRÁhh




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that tree               lent                             (Environmental Defense Fund,                                   199u)         find
emissions: tree plantin        t e low cost                                                          options to l init net
would cost on the ord r    f e Conservation                                                          Reserve Prngram (cup
compared to $5.73 for    o   S3.48-65.49 per                                                          ton of co? remos.cd
switchin9- A similar est® e Y conservation                                                            and $4-4H for rue
& Richards (usps 199)                                 wh88 e for tree planting comes from Moulton
tree planting in the NS at                                                           Per             on of CO2 a- a4ded by
that certain coal.bed CH4 a wt SS. Dudek & LeBlanc (379 : repar
near or below $5 per ton of CO2-        n.iques have a mary na; e
                                 equ valent avoided (using 21 .·1) ,
emissions av                         a   e             nestimates the marginal cost                                     of     global
CO2,     CH4, CFCs, and tree p a t                                                                                                    2"1
 from 1990 levels can be achiev d
$2/ton carbon; this reduction i                         of u   un
cut an additional 15%     f     a entirely the phasecut o e n
marginal cost of $11                total reduction, would h
phasecut, with some of the oth           a reduction is still CFC
addressed.    After the 25% red et           d sinks beginning to be
Since CFCs were thought in 1990 t                         e rapidly,
forcing additions, excluding CFC                      ut 2M of net
scientific reports in 1991 may mean that the basî8 of the new
at the point of rapidly increasin          we are currently sitting
the marginal cost curve),         9       nel costs (the "elbow" in




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analysis 2ndicate th
the Invest···   042     d re.lucing corporate incore taxen or enlarg:nq
growth   bu+        ax credit would provide a greater spur to economic
federaÍ der e       h of these two is best is not clear.    Nedue:ng the                                          ,
consumpt on   r ute                       × 's, by contrast , would spur
°conoc le co t s of                                           n                     of f set   less of      the
induc n9   in      otton to                             n   ace    e  hose costn by
                                            ch the Federal Reser/e Bank resnonds b
           nq     conor:c gro               h)
                                                                                         umnary," draft



9 o h     th se stud es is he re uction n the tax urden on abo
     P   1, Dpt the carbon tax    sel
labor or capital i d                          u    tax burdens on
maintained   other                              enues need to be
successful and economica     eff cient than a   o



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              Ieu ralning   eP1M510nu                             but         tt
introducing new techno'-olled 'ha* t
Thene "engineering" si.udies    neludr_.                          t      n
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(2sel): and the recent stu                                                                arang
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conceIned scientists.                                                   c.nergy and the Union of

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adapt n-1 ex2  n                  a       n                               t
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dc   include     loW-CCGt         and        neuti..'e¬           t                d above     typically
bdSelanen,      and   yet       they                                               33Mieu      in   their




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emissions? N
successfuÃ. o Policy, or just a slight nudge, would presumably be


emissions w uld                        dy r8Ported that without policy action US CO2
"moderate" scena                                     1987 levels by 2015.     Under a
options, US CO2                         o a set of individually identified technology
2015.   A "tou h'88 881ons c                           523ld
                                                          be held to 15% above 1987 levels in
emissions to 29%                                          09y oPtions would hold energy use
reduction availabl                                         evels in 2015, with another 7%
"moderate"
savings in scenario
           fuel costcou d be                             chie ed     t        n t savings        because
costs. The "tou ha                                                                         3Dd oPerating
of $20 billion aÂd a                     o       of S      bi 1
saved to 1-8% lost f                                               on per year, or between 0.24
( Feb. 1991) , "Summa                    " PP      9 12                           Og by .Decrees



            y            ts $45 per barrel at that t                              t
would rise $15 billi                                                                  he estimated cost
"moderate" Scen&rio)

co       emissi°®n's''0"°J"                                                              models, heid1n,
1.0-1.3% by 2015                 in the EPA mode                                       1Ner GNP about
model.          E pp- 11-12.                                        Y             y 2015 in the EPRI


;der.ll f       ed   im'hnolouy nrt ;an                                  n   a-            Individually




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                                                                     "CORRESPONDENCE TRÃ                                                  g




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              OOE analysis indicates that the AEC predict ion depends or:
the    a°.surption of a more rapid sectoral shift in the US economy
      y 1rom manufacturing and toward services than is assumed by the
           AEC also aCGumes rapid pentrat ion of       renewables   into
       tricity supply, anount ing to 30-50? Of supply by 2000 to 70-901
        In several decades.    AEC pred1cts a drop in primary energy
 ansurpt ion                              at    55-57            quadn           from            baseline                          forecant            by       2030:    DOE
leports                       that             if       it       had          used           nintlar                  ànr.urptions                      in        itn    NES
inalyses,                            its energy savings prolection would have been 46 quads
only 4-11 quads lower than AEc.

           AEC also crits trow its pra ject.ions the "rebaund" in
connumptlan that occurs when more unergy-e:11cient techr.ology
lowers the marginal cost of using the technology and consumers
consequent iy use the technology more.   Hence IsEC's energy nav1ngs
prolect lons are nonewhat overstated.   Further, AMc assumes a CAFE
stand.ird at 75 mpg and a 30.50 gal lon gasoline tax.

              AEC's "cost savings" clain depends on the use of a 34
 .innue    discount rate, which .3 Lar below actual d1©count rat
 empi'.>yed by real businessen and consumers     the une of the lo
 .11±,cuunt rate naken far-o*! fuel price navings s,.em ror-e lele
 AEL     luo states that $290 t allion per year in now energy and
 env2ronment.11 taxes would be need to st.ibil  e CU cmlsslunn: this
 t-ix would urriout tedly 1-Fose couts on the I S economy, but those
 costs are not tctantified in the report (perhaps they an e
 in an une>.p2aired cost ftqure) .


                                           .1%        [U le Dd 1      l' o                  0.1 s i j r e                          , ,,                     ,
          *. I.er     Me s·.arr'·-.                 1:1c-nt 1      1g-d       :n th(-         US    Ac           or                       a   proc          3   are   also
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constraining emissions
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v1.             J iluptratin_g_ the uses of cost                                    f1cures                                                          8

                A.       MP9nnq benefits and costs to the US.

                  The benefits of limiting CHG cmissions are extremely hard
to          estimate.    Making nu:rerous assumptions,     Nordhaus  (1991)
ontimates                 the    d.mage          to    the          US        of      a    lo    C     rise       In        te;rperature
associated                    with     a   doubling            of        CO2-aquivalent                       concentrations                    at
about 0.?6% or net                          national           innone.   Cline (1941)                             alques that an
temperature  risen                           further            costs  may   increase                             significantly,
especially if there are                               important dincontinuities nuch as changes
 in         deep         arran        circulation.                       Neither            the        Nordhaus              nor          Cl ine
rat1raten                 o!     damage        take      into            account            the       new       finding              by    Karl
f 1991) that erp1rical ly all of the 0.30C averago surface warring
observed over the last 50 yearn has been an increase in rintrum
 (nightt imo and wantertime)    rather  than max1r.uir temperature,
 suggenting that warn:nq may reduce not                                                    increanc cllrrate Strosses.

             These damage e..i trates con be conpared to the cost
 est Inat©S of emissions avoidance.       According to the OFrD nodel
 corparison, stabil;zin7 US CU? onissions at 1990 leveln after 2000
 would co t the U5 cconomy O.1-0 6i of GDP from basel ine forecasted
       ln 2nhÍì   according 70 the DR1 nodel, the costs could be more
   ke 1- A.     costs libe as stabilization is maintained, to a.1-1,5g
 of         GDP          by    ?n?n,          and     n,4-2. li                 of        GDP    by           0 'D.          For          this
     I lustration, assure an en? Inate of about                                                 1.07 of cop,

                          Stab.'. ..       nq ..or;d erlssions at                           19          level,         in        von will

       n -ent rat ionn '-top the committied rise in terre!.iture.                                                                           n
      ..r           em i r. nnn         at   1 9 u:1     1 ov.-. I s by ?n00                      wou 1 d                        1 et      co
                er t rat ionn r         se to í.u:i      pp.¬. by 2100 (n
                                       n . H ', .    i¯ t ab                 I nq     OEcD r     1 r. s i c
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    C e t y no                     50 temperature. He assumes policy is pursued
costs.  He finds:                       Y 8Wo88 Countries with varying rarg:na


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        "OPtimal" control                +o         9
           - SoC 1imit                  _4




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levels after                o   would    ed    .e                ng OECD emissions at             u
from baseline in 2025 (unad-)                  t                          Sions by about       ,e2
emitting-activities to other cou t
In the US that would be about $50-10
#CONay grows from $5 trillion i                                        Per year (as the Us
The total cost to the OECD would b                               to $10 trillion in 2025)
cautious, say a few billion                                       twice that amount. To be
$25 billion per year by in the            28 Y W0s, growing to
per year in 2010-2025- That woul cade 2000-2010, to $100 billion
of around 52            trillion        over    the                       diScounted) total
thereafter),                                            period     (and   continue growing

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